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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MARTIN COHEN, Individually and on Behalf             No. 1:20-cv-01293-LJL
of All Others Similarly Situated,

                              Plaintiff,             MOTION TO WITHDRAW AS COUNSEL
                                                     PURSUANT TO LOCAL RULE 1.4
         v.

LUCKIN COFFEE INC., JENNY ZHIYA
QIAN, and REINOUT HENDRIK SCHAKEL,                   CLASS ACTION

                              Defendants.


TO:      ALL PARTIES AND THEIR COUNSEL OF RECORD

         PLEASE TAKE NOTICE that class member Satyanarayana Kanchanapalli (“Mr.

Kanchanapalli” or “Movant”), will and hereby does respectfully move this Court for an Order

permitting the withdrawal of appearance of Jason A. Zweig in the above-captioned action. On

June 12, 2020, this Court appointed the AP7 Group as Lead Plaintiff and Bernstein Litowitz

Berger & Grossman LLP and Kessler Topaz Meltzer & Check, LLP as Lead Counsel (ECF no.

118). Mr. Kanchanapalli has no further role in this case, other than as a putative class member,

and consents to the withdrawal of Mr. Zweig. Accordingly, Mr. Zweig requests that his

withdrawal as counsel be granted and he be removed from this action’s electronic case filing

(ECF) service list.

DATED: June 15, 2020                         Respectfully submitted,

                                             HAGENS BERMAN SOBOL SHAPIRO LLP

                                             By /s/ Jason A. Zweig
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                                      Counsel for [Proposed] Lead Plaintiff
                                      Satyanarayana Kanchanapalli

IT IS SO ORDERED.


DATE: ____________________             ________________________________
                                       HON. LEWIS J. LIMAN
                                       UNITED STATES DISTRICT JUDGE




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 15, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the e-mail

addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List, and I

hereby certify that I have mailed a paper copy of the foregoing document via the United States

Postal Service to the non-CM/ECF participants indicated on the Manual Notice List generated by

the CM/ECF system.



                                                                  /s/ Jason A. Zweig
                                                                 JASON A. ZWEIG




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